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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                 :
 FEDERAL TRADE COMMISSION,       :
                                 : Civil Action
               Plaintiff,        :
                                 : No. 2:24-cv-04949-WB
           v.                    :
                                 :
 EMPIRE HOLDINGS GROUP LLC d/b/a :
 ECOMMERCE EMPIRE BUILDERS d/b/a :
 STOREFUNNELS.NET and PETER      :
 PRUSINOWSKI,                    :
                                 :
               Defendants.

NOTICE OF FILING OF REDACTED EXHIBITS A AND B TO RECEIVER’S MOTION
    FOR APPROVAL OF FIRST INTERIM FEE APPLICATION (ECF NO. 54)

       PLEASE TAKE NOTICE that the Receiver, Kevin Dooley Kent, hereby submits Redacted

Exhibits A and B to the Receiver’s Motion for Approval of First Interim Fee Application for the Period

September 20, 2024 through October 31, 2024 (ECF No. 54).

                                                      Respectfully Submitted,


Dated: November 26, 2024                              /s/ Robin S. Weiss
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                                                      Attorneys for Receiver, Kevin Dooley Kent
